     Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 1 of 15 PageID #:5941




                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

    Spencer Byrd, Allie Nelson, and
    Lewrance Gant,

         Plaintiffs,
                                                   No. 19 CV 3691
    v.
                                                   Judge Lindsay C. Jenkins
    The City of Chicago,

         Defendant.

                                          ORDER

       Municipal Code of Chicago § 2-14-132 authorizes the City of Chicago to
impound cars used in the commission of certain municipal violations, including
driving without a valid license and drug offenses. Spencer Byrd, Allie Nelson, and
Lewrance Gant, the only remaining Plaintiffs, each had their cars impounded under
the Ordinance between 2016 and 2019. Through this lawsuit, they allege that the
City’s then-existing impoundment scheme violates state and federal law.

       After some claims were dismissed in 2020, the parties proceeded with discovery
and in 2024, the Court denied Plaintiffs’ motion for class certification. [Dkts. 54, 160.]
Count One alleges that the Ordinance violates the Proportionate Penalties Clause of
the Illinois Constitution; Counts Three and Four allege that the Ordinance violates
procedural due process under the United States and Illinois Constitutions. [Dkt. 29.] 1
For the reasons that follow, the City’s motion for summary judgment is granted in
full and Plaintiffs’ motion is denied.

                           Statement of Undisputed Material Facts

       The Court “present[s] the facts ... in the light most favorable” to the
nonmovant. Emad v. Dodge Cnty., 71 F.4th 649, 650 (7th Cir. 2023). The Court only
relays facts that are material. That is, “facts that might affect the outcome of the
suit.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

      Under Ordinance § 2-14-132, the City of Chicago is authorized to impound cars
used in connection with certain enumerated offenses including possessing narcotics,
driving with a suspended or revoked license, driving while intoxicated, possessing
unlawful firearms, and drag racing. [Dkt. 196, ¶ 9.] When a car is impounded under
the Ordinance, the City assesses a towing fee, daily storage fees, and administrative

1    Citations to docket filings generally refer to the electronic pagination provided by
CM/ECF, which may not be consistent with page numbers in the underlying documents.
                                             1
  Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 2 of 15 PageID #:5942




penalties (which the parties also refer to as fines) against the registered owner. [Dkt.
187, ¶ 8]. The amount of the penalty assessed against the owner depends on the
nature of the underlying offense. See § 2-14-132(a)(1). The fines and fees for towing
or storage attach to owners in personam. [Dkt. 187, ¶ 9.]

       Within ten days of impoundment, the City is required to mail a notice of
impoundment to the car’s owners and lienholders. [Dkt. 196, ¶ 15.] The City uses Law
Enforcement Agencies Data System (LEADS) to access Illinois Secretary of State
records concerning driver’s license and car registration information to determine the
name and address of a car’s owner. [Id., ¶ 14.] After a car is impounded, its owner has
fifteen days to request an initial probable cause hearing before the Department of
Administrative Hearings; if requested, the hearing would occur within two business
days of the request. [Id., ¶ 21.] At these initial hearings, the City bears the burden to
establish probable cause to believe that the car was used in a violation subjecting it
to impoundment. § 2-14-132(a)(1). If the City meets its burden, it continues to hold
the car until the owner pays the applicable fines and fees, or until the owner prevails
at a full merits hearing on the validity of the impoundment. [§ 2-14-132(a)(1),
(b)(3)(B); Dkt. 196, ¶ 21.] If the City does not meet its threshold burden, the car is
returned “without penalty or other fees.” [§ 2-14-132(a)(3); Dkt. 196, ¶ 21.]

        Owners who do not seek an initial probable cause hearing or who do not prevail
at the probable cause hearing can challenge the impoundment at a full merits hearing
before the Department of Administrative Hearings. [Id., ¶ 24; § 2-14-132(b)(3).] At a
merits hearing, the City must establish by a preponderance of the evidence that the
car was used in the violation subjecting it to impoundment [Id.] If the City meets this
burden, the owner is fined in an amount that corresponds to the underlying violation
and is assessed fees for towing and storage. [Id.; § 2-14-132(b)(3)(A).] If the City fails
to meet this burden, the car is returned to its owner and any fines or fees the owner
already paid are refunded. [Dkt. 196, ¶ 27; § 2-14-132(b)(3)(B).] The outcome of the
administrative hearing is appealable to the Circuit Court of Cook County. [Dkt. 196,
¶¶ 26–27.] Once a final judgment of liability is entered against the car’s owner, he or
she has at least forty-five days to pay outstanding fines and fees to reclaim the car.
[Id., ¶ 27; § 2-14-132(d).] If the owner does not do so, the car is subject to disposal.

      At the time of the impoundments at issue in this case, the Ordinance did not
permit owners to avoid liability at a full merits hearing by showing that a court had
dismissed the underlying criminal violation. [Dkt. 187 at ¶ 24.] Nor could owners
avoid liability at a full merits hearing by showing that he or she was not legally
responsible for the underlying offense, such as by showing he or she did not




                                            2
    Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 3 of 15 PageID #:5943




participate in the offense or did not know or have reason to know that illegal conduct
was likely to occur. [Id.] 2

       Cars held by the City at an impound lot may also be subject to forfeiture
proceedings by the State of Illinois. State and City forfeiture proceedings occur
independent of one another although they often happen concurrently. [Dkt. 196,
¶¶ 31–32.] A favorable outcome after an administrative hearing under the Ordinance
does not automatically result in a car’s release if state forfeiture proceedings are
ongoing. [Id.] In connection with state forfeiture proceedings, an owner who
establishes to a judge that he or she will suffer a hardship if the car is not released
while forfeiture proceedings are ongoing and who alleges that the hardship was not
due to the owner’s “culpable negligence” can seek the car’s release. [Id., ¶ 33 (quoting
720 ILCS 5/36-1.5(e)).] Absent this showing, the car will not be released during state
forfeiture proceedings. [Id.]

                                        Spencer Byrd

       In June 2016, Spencer Byrd’s Cadillac was impounded following a traffic stop
where CPD officers discovered that Byrd’s passenger, Timothy Mars, possessed
suspected heroin. [Dkt. 196, ¶ 65.] Mars had requested Byrd’s assistance with
mechanical work Mars needed on his car. [Id., ¶ 66.] Byrd tried to help, but when he
could not make the repair, Byrd agreed to give Mars a ride even though the two did
not know each other well. [Id., ¶ 68.] Byrd was pulled over by CPD officers for a
malfunctioning turn signal. [Id., ¶ 69.] During the stop, officers noticed Mars
repeatedly reaching into his pants pocket and found suspected heroin on Mars during
a pat down. [Id., ¶ 70.] Mars was arrested and CPD drove Byrd to a police station
where they later released him. Officers told Byrd that his car had been impounded
and provided paperwork explaining how to initiate the administrative hearing
process. [Id., ¶ 71.] The City also sent Byrd an impound notice to his home address,
and there is no dispute that Byrd received the notice. [Id., ¶ 72.] The State also
initiated forfeiture proceedings against the Cadillac. [Id., ¶ 73.] Byrd filed a hardship
request with the court and that request was granted. [Id.]

       Six months after impoundment, Byrd sought an administrative hearing. The
request for a hearing was granted even though the request was made more than
fifteen days after impoundment. [Id., ¶ 74.] At the December 2016 hearing, the
administrative hearing officer found probable cause to support the impoundment.
[Id.] Byrd’s full merits hearing occurred the following February, and Byrd was found
liable for the drugs in the car. He was assessed a $2,000 penalty. [Id., ¶ 75.] Byrd
appealed the findings to the Circuit Court of Cook County, and the court affirmed the


2      It is undisputed that the current ordinance allows owners to avoid liability where, for
example, the underlying criminal violation was dismissed or where the owner was not legally
responsible for the offense, did not participate in the offense, and did not know or have reason
to know that the illegal conduct was likely to occur. [Dkt. 187, ¶ 25; § 2-14-132(h)(4), (h)(5).]
                                               3
    Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 4 of 15 PageID #:5944




$2,000 fine against Byrd but reduced the towing and storage fees from $15,790 to $0.
[Id., ¶ 76.] Byrd’s Cadillac remains in a City impound lot. [Id., ¶ 77.]

                                         Allie Nelson

       In October 2017, Allie Nelson’s Chrysler 300 was impounded after more than
thirty grams of suspected cannabis were found in the car during a traffic stop. [Id.,
¶ 50.] The Chrysler was Nelson’s secondary car that she permitted her teenage
granddaughter and other family members to drive [Id., ¶ 51.] Nelson instructed her
granddaughter not to let her boyfriend, Jharad Tillis, drive the car. [Id., ¶ 54.] At the
time of the impoundment, Nelson was in Texas recuperating from medical
treatments, and she had given her granddaughter instructions not to allow anyone
else to drive the car. [Id., ¶ 56.]

       Nelson’s car was stopped by CPD for a cracked windshield. [Id., ¶ 57.] Tillis
was driving and Nelson’s granddaughter was in the passenger seat. [Id.] Officers
discovered Tillis in possession of cannabis, he was arrested, and the car was
impounded. [Id.] Six days after the stop, the City mailed a notice of impoundment to
the LEADS address associated with Nelson’s name. Nelson denies ever receiving this
notice. [Id., ¶¶ 59–60.]

       In November, a default judgment was entered against Nelson. [Id., ¶ 61.]
Nelson moved to set that judgment aside, explaining that she never received the
notice. [Id.] Even though more than twenty-one days had passed, the administrative
officer granted the request and Nelson’s full merits hearing was held in February
2018, where Nelson was found liable for the drugs in the car. [Id., ¶ 62.] Nelson was
assessed both a $2,000 penalty and $3,925 in fees. [Id.]

      Nelson’s car was also subject to State forfeiture proceedings. [Id., ¶ 63.] Nelson
made a hardship request to a court to have her car released, but the request was
denied. [Id.] The City eventually transferred Nelson’s car to the Illinois State Police,
who sold it at auction. [Id., ¶ 64.]3

                                        Lewrance Gant

      Lewrance Gant’s Crown Victoria was impounded in March 2019. [Id., ¶ 35.]
Gant owned another car but loaned the Crown Victoria to Donald Salter about twice
a month. [Id., ¶ 36.] Salter had worked for Gant’s business, South Side Livery, and

3       Nelson asserts that the City disposed of her car, arguing that the City did so “by
transferring it to [] the Illinois State Police.” [Dkt. 196, ¶ 64.] But the record evidence Nelson
cites fails to dispute the fact that the City played no role in the disposal decision. [Dkt. 173-
2 at 12, 21.] The cited testimony establishes that whether to dispose of a forfeited car at the
conclusion of City forfeiture proceedings when the car is also subject to State proceedings is
a decision made only by Illinois State Police, not the City. Because Nelson has failed to
dispute this fact, it is deemed admitted.
                                                4
  Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 5 of 15 PageID #:5945




Gant knew Salter drove without the necessary chauffer’s license. [Id., ¶ 37.] Weeks
before the car was impounded, Gant asked to see Salter’s driver’s license, which Gant
took a picture of, and which listed a March 4, 2019, expiration date. [Id, ¶ 39.] Though
it is disputed whether Gant knew that Salter’s license had been suspended, it is
undisputed that Salter had outstanding tickets, that Gant knew Salter was on a
“payment plan for tickets”, and that Gant did not verify whether Salter had renewed
his license on or after March 4. [Id., ¶ 38.] On March 30, Salter was pulled over by
CPD while driving the Crown Victoria. [Id., ¶ 40.] Officers learned that Salter’s
license was suspended and they observed suspected cannabis in the back seat, so the
car was impounded. Both “driving with a suspended or revoked license” and
“unlawful drugs in vehicle” were listed as the reasons for impoundment. [Id.] Gant
learned of the impoundment about an hour later when he received a call from Salter.
[Id., ¶ 41.] Gant went to the police station to meet Salter, and an officer explained
that Gant’s car had been impounded. [Id., ¶ 42.] At the impound lot later that day,
Gant learned that he needed to go to the administration hearing facility if he wished
to have his car released. [Id.] The City mailed Gant an impound notification letter
using LEADS. The letter described the process for challenging impoundment and said
that an adverse judgment could result in the car’s disposal. [Id., ¶ 43.]

        Gant requested an initial probable cause hearing, which was held on April 1,
2019. [Id., ¶ 45.] The hearing officer found that the impoundment was supported by
probable cause. [Id.] At the full merits hearing the following month, the City
dismissed the “unlawful drugs” charge as a basis for the impoundment due to missing
lab results, but Gant was found liable for the suspended license violation and was
assessed a $1,000 penalty and $3,750 in fees. [Id., ¶¶ 46–47.] Gant did not seek
further review of the administrative decision, and he did not pay the penalty or fees.
[Id., ¶ 48.]

                                   Legal Standard

        Summary judgment is proper where “the movant shows that there is no
genuine dispute as to any material fact and the movant is entitled to judgment as a
matter of law.” Fed. R. Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 323
(1986). When reviewing cross-motions for summary judgment, all facts and
reasonable inferences are construed in favor of the party “against whom the motion
under review was made.” Frazier-Hill v. Chicago Transit Auth., 75 F.4th 797, 801
(7th Cir. 2023). A genuine issue of material fact exists if “the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 248 (1986); see also Birch|Rea Partners, Inc. v. Regent
Bank, 27 F.4th 1245, 1249 (7th Cir. 2022). The Court “may not make credibility
determinations, weigh the evidence, or decide which inferences to draw from the
facts; these are jobs for a factfinder.” Johnson v. Rimmer, 936 F.3d 695, 705 (7th Cir.
2019) (internal quotation omitted). But defeating summary judgment requires
evidence, not mere speculation. See Weaver v. Champion Petfoods USA Inc., 3 F.4th
927, 934 (7th Cir. 2021).

                                           5
  Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 6 of 15 PageID #:5946




                            Proportionate Penalties Clause

       The Proportionate Penalties Clause of the Illinois Constitution provides that
all “penalties shall be determined both according to the seriousness of the offense and
with the objective of restoring the offender to useful citizenship.” Ill. Const. 1970, art.
I, § 11. The parties first dispute whether the Ordinance falls within the scope of the
Proportionate Penalties Clause. The City argues that the Clause regulates only
criminal sanctions and because the Illinois Supreme Court has described the
Ordinance as “presumptively civil”, see Linztzeris v. City of Chicago, 216 N.E.3d 151,
164 (Ill. 2023), the Clause has no application to this case. [Dkt. 176 at 8.] For their
part, Plaintiffs argue that fines are a penalty and, by its terms, the Clause applies to
all penalties. [Dkt. 184 at 6 (“The most ‘natural and obvious meaning’ of ‘all penalties’
is that it includes every penalty, not just a subset of them.” (cleaned up)).]

       The Eighth Amendment’s Excessive Fines Clause applies to civil and criminal
penalties. Grashoff v. Adams, 65 F.4th 910, 916 (7th Cir. 2023) (an excessive fines
inquiry “does not depend on whether the sanction arises in the civil or criminal
context; ‘civil sanctions can constitute punishment, and therefore are subject to the
limitations of the Excessive Fines Clause, if they serve, at least in part, retributive
or deterrent purposes.’”) (quoting Towers v. City of Chicago, 173 F.3d 619, 624 (7th
Cir. 1999)). Because the Illinois Supreme Court has interpreted the Proportionate
Penalties Clause as “provid[ing] a limitation on penalties beyond those afforded by
the eighth amendment,” see People v. Clemons, 968 N.E.2d 1046, 1056–57 (Ill. 2012),
the Court assumes for purposes of summary judgment that the Clause applies to civil
penalties.

        Plaintiffs raise a facial challenge to the Ordinance, but the Court decides the
as-applied challenge first because if the as-applied challenge fails then the facial
challenge necessarily fails. Hegwood v. City of Eau Claire, 676 F.3d 600, 603 (7th Cir.
2012) (“principles of ‘judicial restraint’ counsel in favor of resolving ‘as-applied
challenges before facial ones in an effort to decide constitutional attacks on the
narrowest possible grounds and to avoid reaching unnecessary constitutional issues’”
(citation omitted)). [Dkt. 54 at 19, n.6.]

       A statute violates the Proportionate Penalties Clause if, as relevant here, the
“punishment for the offense is cruel, degrading, or so wholly disproportionate to the
offense as to shock the moral sense of the community.” People v. Hilliard, 234 N.E.3d
668, 674 (Ill. 2023) (cleaned up). Nothing specifies exactly what satisfies this standard
because, as “society evolves, so too do our concepts of elemental decency and fairness
which shape the ‘moral sense’ of the community.” Id. (quoting People v. Miller, 781
N.E.2d 300, 308 (Ill. 2002)). Like the Excessive Fines Clause, the relevant inquiry
under the Proportionate Penalties Clause is whether a particular penalty was
intended to punish. “Only governmental action that inflicts ‘punishment’ may be
restricted by … the proportionate penalties clause.” People v. Avila-Briones, 49
N.E.3d 428, 440 (Ill. App. Ct. 2015) (citing People ex rel. Birkett v. Konetski, 909

                                            6
    Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 7 of 15 PageID #:5947




N.E.2d 783, 799 (Ill. 2009) (“Thus, the critical determination is whether imposition of
the [sex offender] registration requirement is a direct action to inflict punishment.”)

       Plaintiffs argue that the Ordinance as applied violated the Proportionate
Penalties Clause because the version in effect at the time of the impoundments
punished them without regard for innocence or culpability for the underlying
violation. [Dkt. 172 at 11–13; Dkt. 184 at 10–12.] They maintain that because
“culpability is a cardinal consideration in the proportionality analysis,” punishment
without accounting for personal culpability was “necessarily disproportionate.” [Dkt.
184 at 12.] The City responds that even under a theory of innocence, Plaintiffs still
“bear some culpability for the misuse of their vehicles,” because they at least enabled
others to use their cars in a manner that violated the law. [Dkt. 195 at 10.] In support,
the City relies on Towers, where the Seventh Circuit analyzed some of the same
municipal ordinances at issue here and concluded that even owners who did not
commit an underlying violation and had no reason to know of it still could be fined
for the misuse of their cars. [Id. at 10–11; citing Towers, 173 F.3d at 620–26.] This,
the City says, means that assessing fines against owners is not cruel, degrading, or
wholly disproportionate.

       In Towers, the Seventh Circuit evaluated an Excessive Fines Clause challenge
to the City’s ordinances allowing for impoundment and imposition of fines against car
owners. Towers, 173 F.3d at 620. The car owners argued that $500 fines imposed on
them were excessive because they “did not know about the illegal items that were
found in their cars, they are innocent of any wrongdoing and, therefore, the fines
imposed are excessive and grossly disproportional to the offense.” Id. at 625. First,
Towers concluded that the $500 fines were punitive and not solely remedial for Eighth
Amendment purposes.

       Next, the Court applied United States v. Bajakajian, 524 U.S. 321 (1998) to
evaluate whether the penalty was “grossly disproportional to the gravity of [the] ...
offense.” 173 F.3d at 625. Bajakajian explained that the “touchstone of the
constitutional inquiry ... is the principle of proportionality: The amount of the [fine]
must bear some relationship to the gravity of the offense that it is designed to punish.”
524 U.S. at 334, 337 (forfeiture of $357,144 was grossly disproportional to the gravity
of Bajakajian’s offense). 4

      Applying Bajakajian, Towers examined the gravity of the plaintiffs’ conduct,
noting that each had “unwittingly allowed his car to be used as a receptacle for
another’s illegal item,” with no indication that the plaintiffs were involved in



4      The Bajakajian factors “come from a case about criminal forfeiture—that is, a
punishment tied to a conviction for a crime.” Grashoff, 65 F.4th at 917. Like the Excessive
Fines Clause, most claims under the Proportionate Penalties Clause arise in the criminal
context, but “the same basic framework applies.” Id.
                                            7
  Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 8 of 15 PageID #:5948




anything illegal. 173 F.3d at 625. But the Court explained that even unwitting owners
can still be held responsible for allowing their cars to be misused. It explained:

      We cannot accept, however, the notion that the plaintiffs must be
      considered completely lacking in culpability. The district court
      concluded, reasonably, that, because the plaintiffs did not report their
      cars stolen, they must have given some degree of consent to the use of
      their cars by others, either before or after that use. The district court
      further concluded, persuasively, that, when an owner consents to
      release control of his or her vehicle to another person, expressly or
      otherwise, the owner also accepts the risks inherent to that loss of
      control.

Id. (cleaned up). The harm caused by the plaintiffs’ acts is “certainly a real and a
legitimate subject of the City’s concern,” and by facilitating illegal activity, the Court
said, the “plaintiffs have contributed, however unwittingly,” to the spread of crime in
the community. Id.

       Finally, the Court concluded that $500 was “not so disproportionate to the
gravity of the conduct” under the Excessive Fines Clause because “in fixing the
amount, [the City] was entitled to take into consideration that the ordinances must
perform a deterrent function—to induce vehicle owners to ask borrowers hard
questions about the uses to which the vehicle would be put or to refrain from lending
the vehicle whenever the owner has a misgiving about the items that might find a
temporary home in that vehicle.” Id. at 625–26. As such, the fine was large enough to
function as a deterrent, but not so large as to be grossly out of proportion with the
need for deterrence. Id.

       More recently, the Illinois Supreme Court incorporated aspects of Towers’
analysis when it considered whether § 2-14-132’s imposition of fines on car owners
was a valid exercise of the City of Chicago’s home rule power. Linztzeris, 216 N.E.3d
at 162. That analysis underscored that imposing an impoundment penalty serves “as
a legitimate deterrence tool related to its interest in the safety and welfare of its
residents.” Id. at 162–63.

       Plaintiffs argue that Towers’ analysis is not controlling because (1) it did not
involve a challenge under the Proportionate Penalties Clause, which necessarily
requires consideration of rehabilitative objectives; and (2) the penalties at issue here,
$2,000 for Byrd and Nelson and $1,000 for Gant, are substantially higher than the
$500 fines in Towers. [Dkt. 172 at 16–17.]

      It is true, of course, that Towers did not directly raise a Proportionate Penalty
Clause challenge. Though the Illinois Supreme Court has interpreted the Clause as
sweeping broader than the Eighth Amendment, the Seventh Circuit’s analysis of
whether the same statutory scheme under nearly identical facts is grossly

                                            8
  Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 9 of 15 PageID #:5949




disproportionate to the underlying activity undoubtedly informs the proportionality
analysis under the Illinois constitution. In this regard, Plaintiffs argue that “the
conduct that the court determined in Towers that the City was permitted to deter is
wholly absent here,” because the factual record reveals that Byrd, Nelson and Gant
all engaged in “due diligence.” [Dkt. 172 at 17–18.]

       Plaintiffs understandably disagree with Towers’ excessive fines analysis, see
dkt. 184 at 8 n.1, and with its application to the facts of this case. They are free to
direct their arguments on this score to the Seventh Circuit. But this does not permit
the Court to disregard Towers and its conclusion that the impoundment penalties
serve a “legitimate deterrence” purpose, even if the car’s owner “unwittingly” allowed
his or her car to be used. 173 F.3d at 625 (“The City certainly has a right to sanction
a vehicle owner who does not ensure that others with access to the vehicle do not
place illegal items in it.”) (citing Bennis v. Michigan, 516 U.S. 442, 447–48 (1996)).
Here, it is not disputed that Byrd, Nelson and Gant each gave others access to their
cars at one point or another, and that the underlying violations followed. [Dkt. 196,
¶¶ 35–36, 51, 56, 68.]

       Nor does the Court agree with the characterization that “rehabilitative
considerations” are lacking in Towers. As discussed, Towers explained the City’s
interest in inducing owners to inquire of borrowers before handing over their keys
serves a legitimate deterrent function. 173 F.3d at 626–27. And as the City argues,
this serves the purpose of “inducing owners to exercise greater care in entrusting
their property to others.” [Dkt. 186 at 19; Towers, 173 F.3d at 623.] Indeed, both Gant
and Byrd testified that they take greater precautions when loaning out their cars.
[Dkt. 196, ¶¶ 49,78.]

      Second, Plaintiffs argue that Towers “comes out quite differently” because
unlike the plaintiffs in Towers, the Plaintiffs here are “facing not hundreds, but
thousands of dollars in penalties.” [Dkt. 172 at 17.] “But the fact that over 13 years,
the penalty under [the Ordinance] has increased from $500 to $2,000 does not,
standing alone, pose any constitutional issues.” See Sloper v. City of Chicago, Dep’t of
Admin. Hearings, 23 N.E.3d 1208, 1215 (Ill. App. Ct. 2014). Surely, fines can increase
between 1999 and 2016 without automatically triggering proportionality concerns.

       Finally, the City argues that Plaintiffs’ as-applied challenge fails because the
undisputed facts establish that each Plaintiff either had reason to know their cars
likely would be misused or failed to take precautions against that misuse.
Specifically, (a) Gant allowed Salter to drive his Crown Victoria, even though Gant
knew Salter often drove liveries without proper licensure and had many unpaid
tickets (dkt. 196, ¶¶ 37–38); (b) Nelson permitted her granddaughter to use the
Chrysler even though she assumed that her instructions not to let Tillis drive it would
be ignored (id., ¶ 54); and (c) Byrd allowed Mars into his car without inquiring
whether Mars was carrying contraband. (id., ¶¶ 67–68). [Dkt. 176 at 10–12.]
According to the City, this means that Plaintiffs were not “innocent.”

                                           9
    Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 10 of 15 PageID #:5950




       Plaintiffs do not dispute these facts. [Dkt. 184 at 12–14.] Instead, they argue
that these circumstances are post hoc justifications developed through discovery and
that regardless, the Ordinance in effect at the time of the impoundments did not allow
owners to avoid liability by presenting an “innocence” defense. § 2-14-132(h)(4), (5).
[Dkt. 184 at 11–14.] But as Plaintiffs themselves point out, culpability is a central
consideration in the proportionality analysis, see id. at 11–12, so the Court agrees
they factor into whether the fines are wholly disproportionate.

      Towers held that even unwitting owners whose culpability “is not high” but
who provided some degree of consent to the use their cars by others may still be held
responsible for misuse of their property under the Excessive Fines Clause. Towers,
173 F.3d at 625–26. This was because the $500 fine imposed was not grossly
disproportionate to the gravity of the activity that the City sought to deter. Bearing
that holding in mind, the amounts assessed here—$1,000 for Gant and $2,000 each
for Byrd and Nelson—while punitive and certainly not small sums, are not “cruel,
degrading, or so wholly disproportionate” to the seriousness of the conduct sought to
be deterred. They do not “shock the moral sense of the community.” Hilliard, 234
N.E.3d at 673–74. The Court grants summary judgment for the City on Count One.

                    Procedural Due Process (Prepayment of the Fine)

       Plaintiffs next challenge the payment requirements as a condition for releasing
their cars. Specifically, they argue that the City’s requirement that an owner pay the
outstanding fines and fees before final judgment is rendered violates procedural due
process. [Dkt. 172 at 18–19.]5

       The parties disagree on what procedural due process framework applies to this
claim. Plaintiffs argue that Fuentes v. Shevin, 407 U.S. 67 (1972) applies, but the
Court does not agree. Fuentes involved challenges to writs of replevin, which allowed
the state to seize property without a hearing on behalf of third-party nonstate actors.
Id. at 80. In those circumstances, the Supreme Court explained that notice and a
hearing “must be granted at a time when the deprivation can still be prevented.” Id.
at 81. The factual circumstances here, however, are distinct enough to fall beyond
Fuentes. Rather than seizure on behalf of private creditors, Plaintiffs’ cars were
impounded and subject to forfeiture proceedings by the City, and in the case of Nelson
and Byrd, also by the State of Illinois. [Dkt. 196, ¶¶ 40, 63–64, 73–76.]

       Culley v. Marshall involved plaintiffs whose cars had been used in connection
with drug offenses who alleged that state officials violated their due process rights by
retaining their cars during the forfeiture process without holding preliminary
hearings. 601 U.S. 377, 381 (2024). Under Alabama law, cars used to commit or

5      The City frames this claim as one of substantive due process, but the Court does not
agree. Plaintiffs’ “dispute is not (primarily) with that hearing process, but that the City’s
coercive imposition of a financial penalty occurs before that process results in final judgment.”
[Dkt. 184 at 18 (emphasis in original).]
                                               10
    Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 11 of 15 PageID #:5951




facilitate drug crimes could be subject to civil forfeiture, “so long as the State then
‘promptly’ initiated a forfeiture case.” Id. “[B]efore the forfeiture hearing, the car’s
owner could recover it by posting bond at double the car’s value.” Id. Alabama allowed
an innocent owner affirmative defense at forfeiture hearings, where an owner could
prevail and recover the car by establishing that the owner “lacked knowledge of the
car’s connection to the drug crime.” Id. The Supreme Court concluded that “historical
practice in civil forfeiture proceedings” and prior precedent established that in “civil
forfeiture cases involving personal property such as cars, the Due Process Clause
requires a timely forfeiture hearing but does not require a preliminary hearing.” Id.
at 392. 6

       Culley held that due process is satisfied with a timely, meaningful hearing.
The process here easily satisfies that requirement because it contemplates both a
probable cause hearing and a final merits hearing. [Dkt. 196, ¶¶ 21, 24.] A car’s owner
has fifteen days to request a probable cause hearing, and the hearing will occur within
two business days of the request. [Id., ¶ 21.] Both Byrd and Gant requested
preliminary hearings and received them quickly. [Id., ¶¶ 43–45, 74.] Although the
final merits hearings took a bit longer, Plaintiffs do not seriously challenge the
timeliness of the hearings they received. 7 The procedures satisfy Culley.

       Even if, as Plaintiffs argue, Culley did not control, Mathews v. Eldridge, 424
U.S. 319 (1976), and its three-prong framework also support granting summary
judgment to the City. Under Mathews, a procedural due process claim requires the
Court to consider: (1) “the private interest that will be affected by the official action;”
(2) “the risk of an erroneous deprivation of such interest through the procedures
used, and the probable value, if any, of additional or substitute procedural
safeguards;” and (3) “the Government’s interest, including the function involved and
the fiscal and administrative burdens that the additional or substitute procedural
requirement would entail.” Id. at 335. The Court addressed Mathews at the pleadings
stage and concluded that Plaintiffs stated a claim for procedural due process based
on lack of pre-deprivation process. [Dkt. 54 at 23, 26.] With the benefit of fact
discovery, the parties have refined their Mathews’ arguments, which the Court
addresses below.

6       As Plaintiffs note, the asset forfeiture at issue in Culley attached in rem to the
property itself, as opposed to this case where the fines and fees levied by the City attached in
personam to the Plaintiffs. Still, the Seventh Circuit has explained that any distinction
between in rem forfeitures and in personam fines is one of form, not substance. Both
proceedings result in an economic penalty to the owner because property was used
improperly; and both serve the same governmental purpose of deterring unlawful conduct.
Towers, 173 F.3d at 626–27.
7       Neither party raises timeliness arguments like those at issue in United States v.
$8,850, 461 U.S. 555, 556 (1983) or United States v. Von Neumann, 474 U.S. 242, 251 (1986),
which addressed whether the delay deprived individuals of due process. Because the parties
did not squarely raise issues of delay, the Court does not use the framework applied in those
cases, as first articulated in Barker v. Wingo, 407 U.S. 514 (1972).
                                              11
 Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 12 of 15 PageID #:5952




       First, in general, the private interest in one’s car is substantial. [Dkt. 54 at 22.]
Undoubtedly, “vehicle forfeitures are economically painful. Many Americans depend
on cars for food, school, work, medical treatment, church, relationships, arts, sports,
recreation, and anything farther away than the ends of their driveways.” Washington
v. Marion Cnty. Prosecutor, 916 F.3d 676, 679 (7th Cir. 2019). But the claim at issue
here is not about permanent deprivation. Rather, Plaintiffs’ claim relates to “the
City’s coercive imposition of a financial penalty [] before” final judgment. [Dkt. 184 at
18 (emphasis in original).]

       Here, the length of prehearing deprivation varied for each Plaintiff. Gant and
Byrd received probable cause hearings within two to twelve days of seeking them.
[Dkt. 196 ¶¶ 45, 74.] Similarly, the length of time between impoundment and final
merits hearing differed for each Plaintiff and ranged from about four to eight months.
[Id., ¶¶ 35, 46–47, 50, 61–63, 65, 74–75.] Although Plaintiffs have a strong private
interest in their cars, even for a short period, in context, none of the deprivations was
extraordinarily long. This factor favors Plaintiffs.

       Second, the risk of erroneous deprivation and other procedural safeguards
favor the City. To guard against the risk of an erroneous deprivation pending a final
merits hearing, the City implements probable cause hearings, which can be requested
within fifteen days of impoundment, and will be held within two business days of the
request. [Dkt. 196, ¶ 21.] As explained, the City bears the burden of showing probable
cause to believe the car was used in violation of the code. [Id., ¶¶ 21, 24.] These
procedural protections reduce the risk of erroneous deprivation by ensuring a
probable cause hearing occurs soon after impoundment and that the deprivation
continues only where there is probable cause. Of course, there remains some risk of
an erroneous deprivation, see dkt. 54 at 23, and the procedures hardly guarantee
perfect protections, but they certainly reduce the risk of erroneous deprivations. See
also People v. One 1998 GMC, 960 N.E.2d 1071, 1093 (Ill. 2011) (noting that even
under a Mathews analysis, the risk of erroneous deprivation was minimal in cases
where a car was seized “simultaneously with” a driving under the influence or
revoked license offense for which the police must have probable cause).

       As to the final factor, at the dismissal stage, the Court concluded that the City’s
interest in ensuring prompt collection of monies owed did not outweigh Plaintiffs’
interest in the use of their cars and in retaining access to their money, particularly
since any judgment ultimately attached to individuals, independent of whether they
have their cars. [Dkt. 54 at 23-24 (noting that the City had not addressed Mathews).]
Now, the City focuses its argument on the City’s interest in deterring serious offenses
that present a risk to public health and safety, which Towers acknowledged as a
legitimate government interest in the excessive fines context. [Dkt. 176 at 24; Dkt.
195 at 23-24; 173 F.3d at 625–26.]

      Plaintiffs respond that demanding prepayment of a penalty that is not yet final
has no constitutionally sound justification and is not “directly necessary” to securing

                                            12
 Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 13 of 15 PageID #:5953




a governmental interest. [Dkt. 172 at 20–21.] And they reiterate that depriving car
owners of their cars creates a negative feedback loop. [Dkt. 184 at 19 (citing City of
Chicago v. Fulton, 592 U.S. 154, 164 (2021) (Sotomayor, J., concurring) (observing
that an owner who lacks “reliable transportation to and from work, finds it all but
impossible to repay her [bankruptcy] debt and recover her vehicle”)).]

       Ultimately, the third factor tips in favor of the City. As discussed at length
above, Towers recognized the City’s meaningful deterrent interest under the relevant
ordinances, even for unwitting owners. As the City argues, Plaintiffs’ proposal for
releasing a car before fines are paid would negate much of the deterrent effect,
rendering impoundment a “toothless sanction.” [Dkt. 176 at 24.]

        Lastly, the Supreme Court issued Culley in 2023, noting that requiring an
additional preliminary hearing “would interfere with the government’s important
law-enforcement activities in the period after the seizure and before the forfeiture
hearing.” 601 U.S. at 388. As such, the Court cannot say that Plaintiffs’ alternative
approach—releasing cars without prepayment of fines or only requiring prepayment
of fees but not fines—reduces the fiscal and administrative burden on the City. Under
either analysis, summary judgment for the City on the procedural due process claim
for prepayment of fines is granted.

                           Procedural Due Process (Notice)

       Plaintiffs also bring a due process claim premised on insufficient notice that
their cars were impounded or would be disposed of. The Ordinance requires that,
“[w]ithin ten days after a vehicle is seized and impounded the Department of Streets
and Sanitation or other appropriate department shall notify by certified mail the
owner of record.” § 2-14-132(b)(1)(A). The notice “shall state the penalties that may
be imposed if no hearing is requested, including that a vehicle not released by
payment of the penalty and fees and remaining in the City pound may be sold or
disposed of by the City in accordance with applicable law.” Id.

       It is undisputed that Gant and Byrd both received notice of the impoundment
of their cars and the potential for disposal. [Dkt. 196, ¶¶ 43, 71–72.] Only Nelson’s
notice claims remain, but no genuine dispute of material fact exists as to her.

       Due process does not require actual notice. Rather, it “requires ‘notice
reasonably calculated, under all the circumstances, to apprise interested parties of
the pendency of the action and afford them an opportunity to present their
objections.’” Johnson v. Purdue, 126 F.4th 562, 566 (7th Cir. 2025) (quoting Mullane
v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950)); Krecioch v. United States,
221 F.3d 976, 981 (7th Cir. 2000) (finding that “absent exceptional circumstances,
written notice of forfeiture by certified mail to the claimant’s residence satisfies due

                                          13
 Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 14 of 15 PageID #:5954




process even if the claimant does not receive actual notice as a result.”) Even plaintiffs
who receive actual notice “may nonetheless challenge the procedural sufficiency of
the notice.” Santiago v. City of Chicago, 446 F. Supp. 3d 348, 357 (N.D. Ill. 2020); see
also Memphis Light, Gas & Water Div. v. Craft, 436 U.S. 1, 13–15 (1978) (finding
notice insufficient where customers of a utility company received notices that their
services would be terminated but without information about how to object).

       It is undisputed that the City sent a notice of impoundment to Nelson at the
address on file with the Illinois Secretary of State. [Dkt. 196, ¶ 59.] Regardless of
whether the notice the City sent to Nelson included all of the required information
about impoundment and disposal, Nelson’s due process claim concerns only whether
she received that notice. [Dkt. 184 23–25.] But as discussed, actual notice is not
required. Purdue, 126 F.4th at 566. Because due process only required that the City
provide notice in a way reasonably calculated to apprise her, and because there is no
dispute that the City did so, Nelson has not come forward with sufficient evidence to
defeat summary judgment on notice of impoundment, even accepting her testimony
that she did not receive the notice mailed to her.

       Separately and finally, the parties dispute whether Nelson received notice
regarding the potential for disposal of her car. Even assuming, as Nelson argues, that
she never received the notice, and even if the notice did not include information about
disposal of the car as she maintains, there is no dispute that Nelson participated in
the process challenging the disposal. [Dkt. 196, ¶¶ 61–62.] Still, even if she paid the
fine and fees after the liability finding in favor of the City, this would not have secured
the return of her property: it is undisputed that Nelson’s car was also subject to state
forfeiture proceedings. [Id., ¶¶ 62–63.]

       In an attempt to regain possession from the state, Nelson submitted a hardship
request, but that request was denied by a judge. [Id.] Thus, any dispute about
whether Nelson received proper notice of disposal from the City is ultimately
immaterial because her car was disposed of by the State of Illinois, not the City, a
fact Nelson has not disputed. [Id.] Summary judgment is therefore appropriate in
favor of the City.




                                            14
 Case: 1:19-cv-03691 Document #: 198 Filed: 03/27/25 Page 15 of 15 PageID #:5955




                                     Conclusion

     For the reasons stated above, the City of Chicago’s motion for summary
judgment is granted in full. Plaintiffs’ motion for summary judgment is denied in full.



Enter: 19 CV 3691
Date: March 27, 2025
                                        __________________________________________
                                        Lindsay C. Jenkins
                                        United States District Judge




                                          15
